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IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Anna Colbert

Plaintiff

National Credit Systems, Inc.

Case No.

COMPLAINT

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3800 Camp Creek Pkw, SW Bld 1800-110

 

Atlanta, GA 30331 )
Defendant
Now comes Plaintiff, by and through her attorneys, and, for her Complaint alleges as
follows:
INTRODUCTION

Plaintiff, Anna Colbert, brings this action to secure redress from
unlawful collection practices engaged in by Defendant, National Credit
Systems, Inc.. Plaintiff allege violation of the Fair Debt Collection
Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA’”).
APPLICABLE CASE LAW

A Debt Collector must cease collection communication with a
Consumer if the Consumer sends written notice that they won't pay or
demands they cease communication. 15 U.S.C. Section 1692c(c)
lf a Consumer demands proof of the debt from the Debt Collector,
within thirty days (30) of receiving the initial collection communication,
all collection activity must stop until the Debt Collector has sent proof
of the debt. 15 U.S.C. Section 1692g(b)

JURISDICTION AND VENUE
This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
1367; and 15 U.S.C. section 1692(d).
Venue is proper because a substantial part of the events giving rise to
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this claim occurred in this District.
PARTIES

6. Plaintiff, Anna Colbert (hereinafter “Plaintiff’) incurred an obligation to
pay money, the primary purpose of which was for personal, family, or
household uses (the “Debt’).

7. Plaintiff is a resident of the State of Illinois

8. Defendant, National Credit Systems, Inc. (“Defendant”), is a Georgia
business entity with an address of 3800 Camp Creek Pkwy SW Bldg
1800-110, Atlanta, GA 30331-6050 operating as a collection agency,
and is a “debt collector” as the term is defined by 15 U.S.C. Section
1692a(6).

9. Unless otherwise stated herein, the term “Defendant” shall refer to

National.
10.At some point, the original creditor, transferred this debt to Defendant

for debt collection.
ALLEGATIONS APPLICABLE TO ALL COUNTS

11. The Plaintiff allegedly incurred a financial obligation in the approximate
amount of $5742.11 (the “Debt”) to an original creditor (the “Creditor”)

12. The Debt was purchased, assigned or transferred to Defendant for
collection, or Defendant was employed by the Creditor to collect to
Debt.

13. The Defendant attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. Section 1692a(2).

14.On March 5, 2021, Defendant sent an initial communication to Plaintiff.
See Exhibit A.

45.On or about March 10, 2021, Plaintiff received said collection letter.

16.On April 2, 2021, Plaintiff sent a letter in the mail, disputing this debt,
requesting more information and to stop communicating with her about
the debt. See Exhibit B.

17.Since receiving actual notice of the letter described in paragraph 16,
Defendant has continued communicating with Plaintiff via voice mails.
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See Exhibit C.
Standing
18. Having her phone receive calls (and calls ringing) has been offense

and annoying to Plaintiff.
19. Plaintiff exercised her rights under 15 U.S.C. Section 1692c(c), by

calling her and leaving voice messages, Defendant has violated

Plaintiff's right to privacy.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
20. The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.
21.The Defendant's conduct violated 15 U.S.C. Section 1692e by sending

a misleading communication to Plaintiff.
JURY DEMAND

22. Plaintiff demands a trial by jury.
PRAYER FOR RELIEF

23. Plaintiff demands the following relief:

WHEREFORE, the Court should enter Judgment in favor of Plaintiff and

against Defendant for:
(1) Statutory damages;

(2) Attorney fees, litigation expenses and costs of suit; and
(3) Such other and further relief as the Court deems proper.
Respectfully submitted,

/s/ John Carlin
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